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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 KANCHAN CHANDRA,

                 Plaintiff,                              COMPLAINT

 -against-                                               Civil Case No. _______

 NEW YORK UNIVERSITY, NEW YORK                           Jury Trial Demanded
 UNIVERSITY IN ABU DHABI
 CORPORATION, PAULA ENGLAND, in
 her individual capacity, HERVÉ CRÈS, in his
 individual capacity, and JEFFREY
 TIMMONS, in his individual capacity,

                 Defendants.



       Plaintiff Kanchan Chandra (herein Plaintiff or Professor Chandra), by her attorneys

Charny & Wheeler P.C., alleges upon knowledge with respect to herself, and upon information

and belief as to all other matters, as follows.

                                         INTRODUCTION

      1.       Professor Chandra, a woman of Indian National Origin, has enjoyed decades' long

success as a Professor of Politics at Defendant New York University, teaching, researching and

writing in the field of Comparative Politics and Comparative Political Economy, with a

specialization in the study of Ethnic and Identity Politics, Democratic Theory, Violence and

South Asian Politics.

      2.       Beginning in the academic year 2018-2019 and continuing to the academic year

2021-2022, Plaintiff enjoyed Joint Appointment with Defendant New York University in Abu

Dhabi Corporation (herein NYUAD).




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      3.       At that time, upon information and belief, Plaintiff was one of only two women to

be tenured full-time Full Professors at Defendant NYUAD out of a score or more of tenured full-

time Full Professors at Defendant NYUAD.

      4.       During this period of time, Plaintiff, along with many other women faculty at

NYUAD suffered under gender-based hostility within the Defendant NYUAD workplace.

      5.       When Plaintiff complained about gender discrimination within the NYUAD

workplace, Plaintiff faced immediate and visceral retaliation, which included Plaintiff's Joint

Appointment being terminated and Plaintiff being returned, against her wishes, and in a

humiliating manner, back to New York, with no opportunity to rehabilitate her standing within

the community.

      6.       The discrimination and retaliation permeated and permeates the culture within

Defendant NYU and Defendant NYUAD, emanating from those in positions of authority, and

the discrimination and retaliation continued over time despite a number of changes in leadership.

      7.       Defendant NYUAD has a culture of impunity that affects women

disproportionately. A climate survey conducted in 2021 reported that "high numbers of

participants (31.4%) who indicated that their experiences at NYUAD were NOT FREE of

harassment, bullying and/or intimidation;" that "36% of women said that their experience at

NYUAD were not free of harassment compared to 27% of men"; and that "People who

experienced harassment were also more fearful of retaliation.. which also explains the low rates

of official complaints."

      8.       Discriminatory and retaliatory conduct continues to date, undermining Plaintiff in

her workplace at Defendant New York University (herein NYU) and blocking opportunities for

the same engagement with Defendant NYUAD offered to all faculty at Defendant NYU.



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      9.       Defendants' conduct in this regard violates federal and state law that prohibits

discrimination in the workplace and that prohibits retaliation for complaining about

discrimination in the workplace.

              JURISDICTION, VENUE, AND PROCEDURAL REQUIREMENTS

      10.      This is a civil action for monetary damages and such other relief as the Court

deems just and proper based upon Defendants' discrimination against Plaintiff as well as

Defendants' retaliation against Plaintiff.

      11.      This Court has jurisdiction over this action under 29 U.S.C. §§ 2601 et seq., and

under 28 U.S.C. §§ 1331 and 1367.

      12.      Venue for this action properly lies in this district pursuant to 28 U.S.C § 1391.

      13.      Plaintiff filed a charge of discrimination and retaliation with the Equal

Employment Opportunity Commission (EEOC) alleging discrimination based on gender, race,

national origin and retaliation, as well as a supplement to the same charges. The EEOC has

issued a Notice of Right to Sue and this action is commenced within ninety (90) days of the

issuance of the Notice of Right to Sue.

                                             PARTIES

       14.     Plaintiff is a tenured Professor of Politics with Defendant New York University

and for relevant times during the allegations of this Complaint was also jointly employed by

Defendant NYUAD.

       15.     Defendant NYU is a private research university in New York City. NYU has

more than 171 buildings spread through Manhattan and Brooklyn. Defendant NYU is a global

network university comprising more than a dozen Global Academic Centers and two full-fledged

and degree-granting "portal campuses" in Abu Dhabi and Shanghai.



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        16.     NYU was incorporated as The University of the City of New York by Chapter

176 of the Laws of 1831 of the State of New York, the name of which was subsequently changed

to New York University.

        17.     Article 4 of Defendant NYU's Charter provides that, "[t]he principal office of

New York University shall be in the City and State of New York, but New York University shall

have the power to conduct and operate educational research and other programs and attendant

facilities . . . in locations outside of the State of New York."

        18.     During the events described herein and upon information and belief, Defendant

NYU maintained a main campus at 70 Washington Square South, New York, New York, 10012.

        19.     Defendant NYUAD is a New York domestic not-for-profit corporation organized

under the laws of the State of New York. Defendant NYUAD maintains an address at 70

Washington Square South, New York, New York, 10012.

        20.     Defendant NYUAD is Defendant NYU's Abu Dhabi campus.

        21.     Defendant NYUAD is controlled by Defendant NYU and is a U.S. company with

far in excess of fifteen (15) employees.

        22.     During the events described herein, Defendant NYUAD maintained offices at 19

Washington Square North, 14 New York, New York, 10011.

        23.     NYU describes the "seamless international mobility" of students and faculty

between NYU and NYUAD in their pursuit of academic and scholarly activity as a distinctive

feature of its brand.

        24.     Between 2018 and 2022 Defendant NYU and Defendant NYUAD jointly

employed Plaintiff.




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       25.     Upon information and belief, Defendant NYUAD is controlled by Defendant

NYU and Defendant NYUAD is required to report to the President of Defendant NYU on a

monthly and/or yearly basis.

       26.     Upon information and belief, Defendant NYU exerts financial control over

Defendant NYUAD, and they are a single enterprise.

       27.     For all relevant times, Defendants NYU and NYUAD jointly and severally met

the definition of an "employer" under all applicable statutes.

       28.     For all relevant time periods until August 31 2020, Defendant Hervé Crès was

Dean of the Division of Social Sciences at Defendant NYUAD.

       29.     Defendant Crès actually participated in the conduct giving rise to the

discrimination and retaliation alleged herein and as such is subject to personal liability under the

New York State Human Rights Law and the New York City Administrative Code.

       30.     Beginning in June 2021 and continuing for all relevant time periods, Defendant

Paula England was announced as and then installed as the Dean of Social Sciences at NYUAD.

       31.     Defendant England actually participated in the conduct giving rise to the

discrimination and retaliation alleged herein and as such is subject to personal liability under the

New York State Human Rights Law and the New York City Administrative Code.

       32.     For all relevant time periods, Defendant Jeffrey Timmons was Program Head of

the Politics Program and Associate Professor of Politics at NYUAD and promoted from that

position during the course of the acts complained of in this Complaint.

       33.     Defendant Timmons actually participated in the conduct giving rise to the

discrimination and retaliation alleged herein and as such is subject to personal liability under the

New York State Human Rights Law and the New York City Administrative Code.



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                                             FACTS

       34.     In 1993, Plaintiff graduated from Dartmouth College Summa Cum Laude, Phi

Beta Kappa, Senior Fellow, Colby Prize in Government with a BA in Government.

       35.     In 2000, Plaintiff was awarded a Ph.D. in Government from Harvard University.

       36.     At that time, in 2000, Plaintiff was appointed by Massachusetts Institute of

Technology (herein MIT) as an Assistant Professor, Department of Political Science.

       37.     In 2004 Plaintiff was promoted by MIT to Associate Professor, Department of

Political Science.

       38.     In 2005 Plaintiff was appointed by Defendant NYU as Associate Professor in the

Wilf Family Department of Politics, with tenure.

       39.     In 2011, Plaintiff was promoted by Defendant NYU to Full Professor in the Wilf

Family Department of Politics, with tenure. She continues to hold that position to date.

       40.     At Defendant NYUAD, Plaintiff was Professor of Politics in the Politics Program

in the Social Science Division between 2018 and 2022.

       41.     There are close connections between the Wilf Family Department of Politics at

Defendant NYU and the Politics Program at Defendant NYUAD.

       42.     Faculty from the Wilf Family Department of Politics at Defendant NYU routinely

serve on Faculty Review Committees (FRCs) for the promotion and tenure of faculty Politics

Program at Defendant NYUAD.

       43.     Faculty from the Wilf Family Department of Politics at Defendant NYU routinely

teach courses at Defendant NYUAD or sponsored by Defendant NYUAD in other sites during

"J-term."




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       44.      Faculty from the Wilf Family Department of Politics at Defendant NYU sponsor

graduate students to be hosted by the Politics Program at Defendant NYUAD

       45.      Faculty from the Wilf Family Department of Politics at Defendant NYU teach and

mentor undergraduate students from Defendant NYUAD when students visit Defendant NYU.

       46.      Faculty from the Politics Program at Defendant NYUAD teach, advise or employ

students from Defendant NYU when students visit the Defendant NYUAD.

       47.      Faculty from the Politics Program at Defendant NYUAD routinely sponsor

conferences and seminars with invited participation from faculty and graduate students at Wilf

Family Department of Politics at Defendant NYU.

       48.      Faculty from Wilf Family Department of Politics at Defendant NYU routinely

sponsor conferences and seminars with invited participation from faculty at the Politics Program

at Defendant NYUAD.

       49.      Several faculty from the Politics Program at Defendant NYUAD have affiliated

status in the Wilf Family Department of Politics at Defendant NYU.

       50.      Several faculty from the Wilf Family Department of Politics at Defendant NYU

have visited the Politics Program at Defendant NYUAD for short periods as visiting affiliate

faculty.

       51.      From October through December 2012 Plaintiff was selected to be and did in fact

serve as a visiting Affiliated Faculty in the Politics Program at Defendant NYUAD. By all

accounts Plaintiff performed such Affiliated Faculty duties in an excellent manner.

       52.      During the two-plus decades of her career as a higher education professor,

Plaintiff has not just an excellent teaching record, Plaintiff has extensive publications,




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professional presentations, media publications, published reviews, peer-reviewed articles, three

well-received books, and numerous grants and fellowships.

       53.     On January 20, 2016, Plaintiff was approached by Defendant NYUAD's Social

Science Dean Defendant Hervé Crès's assistant to meet with Defendant Crès. Plaintiff met with

Defendant Crès on February 9, 2016 in New York at NYUAD's office at 19 Washington Square

North at which time Plaintiff was invited by Defendant Crès to visit NYUAD.

       54.     Between February 2016, and December 2016 Plaintiff and Defendant Crès

worked out the details for Plaintiff to spend a year in Abu Dhabi as Visiting Affiliate Faculty.

The arrangement Plaintiff and Defendant Crès agreed on was for an affiliated faculty position at

NYUAD for one year, from 2017-2018.

       55.     On February 4, 2017, Defendant Crès requested, and Plaintiff agreed to Chair a

Third-year Review Committee for a tenure track NYUAD faculty member.

       56.     On August 19 2017, Plaintiff arrived at NYUAD as Visiting Affiliate Faculty for

one academic year (2017-2018). At the time, Defendant NYUAD's Political Science Department

had three full-time tenured faculty members, all male Associate Professors (including Defendant

Timmons and two other male faculty). There were at the time approximately eight to ten full-

time untenured faculty (both ostensibly tenure track and non-tenure track). Of those non-tenured

faculty, there were only three women.

       57.     On October 5, 2017, Defendant Crès and Plaintiff began discussing Plaintiff's

staying on at NYUAD after the Affiliate Faculty year was up. This followed Defendant Crès's

efforts, as well as lunches with two of the male tenured faculty (one of whom was Defendant

Timmons), where there was an open discussion about the need for senior women at Defendant

NYUAD.



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       58.       A long-term move to NYUAD was costly for Plaintiff as it meant moving from

the U.S, which is the center of cutting edge research in Plaintiff's fields of research, to the UAE,

which is not, distancing Plaintiff from US based professional networks and opportunities in the

U.S., stepping back from graduate teaching (NYUAD is a primarily undergraduate institution),

scaling back Plaintiff's participation and visibility in important professional forums in the US,

and delaying Plaintiff's sabbatical.

       59.       However, Plaintiff was excited about the opportunity since at that point in her

career Plaintiff was seeking to build an intellectual and professional life that is more

international.

       60.       In particular, a potential move to NYUAD was for Plaintiff an investment in the

direction of an International Career.

       61.       At the time, Plaintiff began discussing with Defendant Crès and the higher

administration at Defendant NYU the contours of a joint appointment between Defendant NYU

and Defendant NYUAD.

       62.       A Joint Appointment between Defendants NYU and Defendant NYUAD is a

prestigious appointment. Unlike the position of "Affiliated Faculty," which confers only visitor

status at NYUAD, a Joint Appointment confers the status of standing faculty at both institutions.

In both institutions, this appointment is governed by the NYU Faculty Handbook, which the

rules of individual portal campuses cannot supercede.

       63.       On October 15, 2017, Defendant Crès invited Plaintiff to participate in a review

of candidates in a search in political theory. The male faculty member in charge of the search at

Defendant NYUAD responded in an openly negative fashion to Plaintiff's increasing inclusion




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into what had been an exclusively all-male faculty leadership team within Defendant NYUAD's

Political Science Department.

       64.     Defendant Crès's efforts thereafter to increasingly include Plaintiff in the

decision-making within Defendant NYUAD's Political Science Department were met by

increasing resistance and hostility by the all-male faculty leadership within NYUAD's Politics

Program.

       65.     In October 2017, at Defendant Crès's encouragement, Plaintiff began organizing a

series of monthly "professionalization lunches" for junior faculty in Politics as part of Plaintiff's

mentoring function.

       66.     In December 2017 Plaintiff was invited by Defendant Crès to begin attending

senior faculty meetings, noting that "This faculty body also acts as the search/hiring committee,

and your judgement would be a great asset for us."

       67.     On December 10, 2017, Plaintiff was invited by Defendant Crès to be involved in

Defendant NYUAD's Social Sciences Division creating research centers as a means of

channeling resources to the Division and raising its research profile. Plaintiff was encouraged to

work towards building a Research Center on identity and genetics, one of the Plaintiff's major

evolving research interests.

       68.     Defendant Crès endorsed this idea, encouraging Plaintiff to continue her efforts.

       69.     In mid-December 2017 there were continued discussions to work out Plaintiff's

Joint Appointment at Defendant NYUAD.

       70.     At that same time, Defendant Crès and Plaintiff developed plans to build a center

on identity and genetics and Defendant Crès agreed to fund an "identity" lunch seminar series,

co-chaired by Plaintiff and a renowned sociologist to explore building such a center.



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       71.     The Identity Seminar ran during the 2018-2019 school year and was by all

accounts a major success.

       72.     By email dated December 17, 2017, Defendant Crès communicated to Plaintiff

that it was his intention to bring Plaintiff on board as a standing faculty member at NYUAD with

a Joint Appointment at Defendant NYU and that such relationship should be "indefinite."

       73.     For a period of months, Plaintiff engaged in negotiations and discussions

regarding her Joint Appointment at Defendant NYUAD.

       74.     On or about May 4, 2018, Defendant NYUAD issued a letter of intent with the

broad parameters of all elements of a Joint Appointment at Defendant NYUAD laid out, with a

start date of September 1, 2018, with the status of standing faculty at Defendant NYUAD. In

that communication, Defendant Crès stated that while he needed to work some of the details, the

intent letter was a "robust commitment."

       75.     The formal contract between Plaintiff and the Defendants was finalized on or

about August 31, 2018 and included within it all of the elements of a prestigious Joint

Appointment relationship between Plaintiff and the Defendants: in particular, according to the

terms of the appointment, Plaintiff was eligible to participate in Faculty Governance at both

Defendant NYU and Defendant NYUAD.

       76.     At that time, upon information and belief, Plaintiff was one of only two women

among a score or more of tenured full professors full-time at Defendant NYUAD.

       77.     As standing faculty at Defendant NYUAD and a Full Professor, Plaintiff became

at that time the most senior member of the full-time faculty in the Politics program at Defendant

NYUAD and, the only tenured woman of color in the Politics Program and the Social Science

Division.



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        78.     This was for Plaintiff a major step in her professional development. The Joint

Appointment carried with it a secure institutional status (with the right to participate in faculty

governance at NYUAD as well as NYU New York), an increase in compensation and research

funding, the opportunity to pursue new interdisciplinary research agendas and deepen and

expand her previous research and teaching on South Asian politics, and an enhanced institutional

leadership role at Defendant NYUAD.

        79.     Defendant Crès reported to the NYU New York leadership regarding Plaintiff's

Joint Appointment, "We are looking forward to Kanchan's contribution to our development."

        80.     Meanwhile, during 2018 Plaintiff continued her work on growing and developing

Defendant NYUAD's program including the research center proposal and interdisciplinary lunch

series with a focus on identity and genetics. The identity and genetics initiative drew heavily on

relationships Plaintiff built with biology faculty resident at Defendant NYUAD, and the unique

opportunities for interdisciplinary collaboration at Defendant NYUAD.

        81.     In March 2018, with Defendant Crès's endorsement Plaintiff applied for a "Center

Planning Grant" to plan a center on Identity and Genetics in collaboration with the sociologist

David Cook Martin and the biologists at Defendant NYUAD.

        82.     At the same time, because of her appointment at Defendant NYUAD Plaintiff was

able to pursue and expand research and teaching interests in South Asia, which is one of

Plaintiff's core fields.

        83.     Defendant NYUAD's physical proximity to South Asia, the presence of South

Asian migrants in the UAE (over 60 percent of the UAE population is comprised of migrants

from South Asia) and the large number of South Asian students at Defendant NYUAD were




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important for Plaintiff's existing teaching and research and to launch new initiatives related to

South Asia.

       84.     Also because of her appointment with NYUAD, Plaintiff was able to develop new

courses, including a new J term course with a field trip component to India, and a new course on

ethnic identity and democracy.

       85.     The student evaluations for these new courses were enthusiastic, and Plaintiff's

courses were also praised, lauded and welcomed by Defendant NYUAD's administration because

of the new courses' fit with NYUAD's and NYUAD's Politics Program's curricular needs.

       86.     Even before Plaintiff became a formal member of Defendant NYUAD's standing

faculty, Plaintiff was appointed by Defendant Crès on a wide variety of committees including

Chair, Faculty Review Committee (FRC) for a third-year review for a tenure track faculty

member, Chair, Committee on Interdisciplinary Hiring; and Co-Chair, Identity Seminar Lunch

Series. During this time, Defendant Crès routinely consulted with Plaintiff on senior hires.

       87.     However, things changed dramatically beginning in May 2018, when Plaintiff

began experiencing explicitly gender-based hostility and obstruction in the workplace.

       88.     In or about May 2018, upon information and belief, Defendant Crès reached out

to Plaintiff's male colleague at NYUAD Defendant Timmons, who was at the time Program

Head of the Politics Program at NYUAD, and asked Defendant Timmons to include Plaintiff on

the Politics Program Search Committee.

       89.     Soon thereafter Plaintiff reached out to Defendant Timmons to follow up.

       90.     The Politics Program Search Committee is a committee over which Defendant

Timmons exercised formal power of appointment.




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         91.   On May 30, 2018, Plaintiff was advised in an email from Defendant Timmons

that Defendant Timmons did not plan to put Plaintiff on the committee. Defendant Timmons

stated to Plaintiff that he had in mind four NYUAD full-time male faculty members for that

committee.

         92.   On May 30, 2018, Plaintiff stated in an email to Defendant Timmons: "At a time

when we are interested in hiring women in particular, and where having women at NYUAD who

can help persuade other women to come, it seems odd that you are considering not putting me on

the committee when I have both strong credentials for it, and actually want to be there, in favour

of a committee which consists only of NYUAD male standing faculty."

         93.   On May 31, 2018, at a meeting in Plaintiff's office, Plaintiff was told by

Defendant Timmons that he (Timmons) had "had it" with "these senior women from New York."

         94.   At that time Defendant Timmons stated that he would be excluding Plaintiff from

the Politics Program Search Committee, citing his problems with "these senior women from New

York."

         95.   Plaintiff objected to this gender bias, and asked Defendant Timmons to

reconsider. By the end of the end of the May 31, 2018 meeting Defendant Timmons stated to

Plaintiff that he would consider Plaintiff's request to be put on the Committee.

         96.   Defendant Timmons' efforts to undermine Plaintiff's success at NYUAD had

already begun in April-May 2018 once it became clear that Plaintiff (one of the "senior women

from New York") would be joining the standing faculty at NYUAD, with the right to participate

in faculty governance, rather than with the more tenuous status of visiting faculty.

         97.   In or about April-May, 2018, Defendant Timmons began criticizing Plaintiff's

teaching.



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       98.     At the time, and for all times, Plaintiff's teaching was excellent, with, upon

information and belief, better teaching evaluations than Defendant Timmons'.

       99.     In response to Defendant Timmons' explicit gender bias in committee

assignments, Plaintiff advised Defendant Crès that her status as a "senior woman" was the reason

for her exclusion, and that such gender bias cannot stand.

       100.    On June 26, 2018, Plaintiff was awarded a Center Planning Grant for a Center on

Identity and Genetics.

       101.    On August 31, 2018, Plaintiff signed the agreement to join Defendant NYUAD as

standing faculty, with a contract for 4 years, with an agreement that the last half year would be

served as a sabbatical. It was understood between the parties that Plaintiff would necessarily be

afforded the opportunity to stay on as standing faculty at Defendant NYUAD until 2026 or

longer, especially as such appointment would be required for the Center on Identity and Genetics

grant application for which Plaintiff would be the required Principal Investigator (the PI) on the

NYUAD campus. This understanding of renewability was central to Plaintiff's decision to move

to Defendant NYUAD as an investment in her career.

       102.    Within one month of her formal appointment, the environment for Plaintiff at

Defendant NYUAD became increasingly hostile with Defendant Timmons actively obstructing

Plaintiff's ability to succeed. Defendant Timmons, for example, excluded Plaintiff from

conference planning in her field of research and denied Plaintiff's request for

visitors/collaborators (otherwise standard at Defendant NYUAD). While Defendant Timmons

included Plaintiff on the recruitment committee eventually, Defendant Timmons denigrated

Plaintiff on the Committee and asked Plaintiff to perform clerical and administrative work.




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       103.    In addition, during this period of time, Defendant Timmons repeatedly

complained to Plaintiff that she was behaving like his wife insofar as Plaintiff was calling him

out on inappropriate behaviors and sexist language and behavior both towards Plaintiff directly

and towards female job candidates and female colleagues.

       104.    For example, Plaintiff was told by Defendant Timmons, words to the effect of:

"you are like my wife, you can't let things go."

       105.    A few months previously, on or about December 1, 2017, one of the few female

faculty at NYUAD had filed a memo to Defendant Crès against Defendant Timmons alleging

gender discrimination and gender hostility in the workplace as it regarded job candidates.

       106.    This female faculty member had written in her memo that Defendant Timmons

was one of those who expressed or affirmed a conviction that targeting women faculty for

recruitment would "lower the quality." This female faculty member continued: "Such statements

are offensive to the women faculty in the division and to me personally, but even more

importantly, they inject bias in the evaluation of candidates from the start."

       107.    This female faculty member also noted that Defendant Timmons' presentation of a

senior female candidate "emphasized the weaknesses of this candidate, closing with the notion

that nevertheless she was a 'body' to do work that he is too busy to do himself, and that she

would be good at that." This female faculty member pointed out that this was a repeat instance

of such language, and that such language "caused great consternation among some of the junior

women faculty."

       108.    In addition, Defendant Timmons tolerated and condoned hostility towards

Plaintiff from younger (and less senior) male faculty at NYUAD, including younger male faculty




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ostracizing and excluding Plaintiff from professional events and research initiatives which they

initiated.

        109.    For instance, one younger male faculty member felt comfortable in violating

policy in asking Defendant Timmons to overrule a Capstone grade given by Plaintiff to one of

his students.

        110.    As seminar co-chair, this younger male faculty member also vetoed a dinner

invitation Plaintiff had extended to a speaker who had referenced her work and wanted to meet

her, without consultation with the speaker.

        111.    Defendant Timmons also collaborated with younger male faculty in proposing a

reading group and a new research initiative which excluded Plaintiff although she was eligible to

participate. When Plaintiff asked to participate in the reading group, it was cancelled. Plaintiff

was never included by this subset of male faculty in the Program in their discussions on new

research initiatives even when these initiatives were in her research fields. They also did not

respond to invitations Plaintiff issued welcoming them to participate in anything she organized.

        112.    This was a familiar pattern in the Social Science Division and the Politics

Program at Defendant NYUAD. During the relevant time period of this Complaint, other

women in more vulnerable positions had also complained of a gender-hostile culture, which

included ostracism from male colleagues, and repeated belittlement and disrespect in seminars

and other academic settings.

        113.    Upon information and belief, similar complaints were filed against Defendant

Timmons in 2017, 2018 and 2019, all reinforcing that Defendant Timmons had created and was

sustaining a workplace riddled with gender-based hostility.




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       114.    At that time, Plaintiff began conversations with Defendant Crès raising the matter

of gender-based hostility within the Politics Program at NYUAD, speaking on her own behalf

and advocating for other women. Plaintiff also tried to address the matter procedurally by asking

for a meeting of Politics Program senior faculty.

       115.    On November 4, 2018, at the first Politics Program senior faculty meeting called,

which was called at Plaintiff's request, Defendant Timmons noted his opposition to the meeting

in person, used denigrating language again towards Plaintiff and refusing to provide money for a

senior faculty dinner.

       116.    Subsequently, a senior male faculty member who was present at the meeting,

came up to Plaintiff and stated that he was sorry that Plaintiff had been spoken to in that manner

at a faculty meeting, and praising Plaintiff for responding in a way that was "firm but polite."

       117.    That evening, Plaintiff again complained in writing about the gender-hostility

within Defendant NYUAD, explicitly raising the issue of sexism and gender-hostility.

       118.    In response, the next day, Defendant Crès told Plaintiff that her complaints were

making Defendant Timmons' job more difficult. Defendant Crès asked irritably that if Plaintiff's

complaint led to Defendant Timmons' resignation, would Plaintiff be willing to take over as

Program Head. Other than that suggestion, there was no other follow up by the Defendants.

       119.    In mid-November 2018 Plaintiff again wrote to Defendant Crès asking for a

meeting and the meeting was held on November 14, 2018.

       120.    During the November 14, 2018 meeting, after small talk for almost the full

meeting time, Defendant Crès focused eventually on the topic of Defendant Timmons' behavior

stating that Defendant Crès had concluded that the problems were "just interpersonal," and

repeatedly refused to accept gender as an issue.



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       121.    In response, Plaintiff spent additional time attempting to describe the events to

ensure that Defendant Crès understood that indeed the problem with Defendant Timmons arose

from gender-bias and hostility.

       122.    That evening Defendant Crès came to Plaintiff's office and proposed creating a

"task force" to make general recommendations about the governance of the Social Science

Division in the next school year, which could also consider Plaintiff's concerns regarding gender-

biased hostility in the workplace among other things.

       123.    The next day, Plaintiff sent a detailed response to Defendant Crès, stating: "The

task force plan for next year is a great one. But there remains the question of a constructive

solution in the long meantime. The issues of program culture remain, and I will on principle

challenge the many routine decisions which establish or reify exclusive norms (such as decisions

that keep women out of leadership positions, or play favourites among junior faculty). That

is my job and the job of any senior faculty here . . . My analysis of this, for what it is worth, is

that Jeff [Timmons] finds it easier to work with male hierarchies . . . But it is harder for him to

work with female colleagues . . . this is an issue which will not go away and the status quo,

barring some solution, is either conflict or inequity."

       124.    Defendant Crès responded by reiterating that it was his belief that this was merely

"interpersonal," and communicating that, against his wishes he would escalate the matter to the

Provost, and only because Plaintiff's message "raises the issue at a level that, under our rules and

regulations, has to involve the Provost's office."

       125.    Defendant Crès had also previously dismissed an intervention by another female

colleague related to Defendant Timmons's sexist behavior at a faculty meeting as well as a

follow-up memo she had written to him on December 1, 2017. This female faculty member had



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written in her memo: "Instead of shutting my intervention down as a laughing matter, I had

hoped you would support me and back up the silent minority of senior faculty who actually care

about gender diversity." Defendant Crès wrote back reprimanding her for calling out the sexist

language at the meeting, and saying that if she tried to curb everything she perceived as

"potentially incorrect," then "nobody will feel free to talk anymore," and telling her that "with

more diversity a better culture will spontaneously arise."

        126.   Between November and December 2018, Plaintiff continued to be subject to

gender-based hostility in the workplace and continued to escalate those issues to Defendant Crès

to no avail, except being told that repeatedly that the problems are "interpersonal."

        127.   On December 3, 2018, Plaintiff sent a memorandum to Defendant NYUAD

Provost's Office.

        128.   Among other things, Plaintiff complained about resistance to women in leadership

positions and sexist language that affected her and other female colleagues. "It is one thing to

recruit women," she wrote, "but quite another to give them a place at the table." Plaintiff added

that her individual interventions had been met with hostility, and said that "I think it is important

now for an institutional response."

        129.   The Provost's Office never responded or even acknowledged Plaintiff's

memorandum after it was submitted on December 3, 2018. Six months later, having never

received a response Plaintiff sent the same memorandum to a different member of the Provost's

Office, and while Plaintiff received an acknowledging response, to wit, "Thanks so much for

sharing, this is very helpful and interesting," Plaintiff received no follow up of any sort

thereafter.




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       130.    While Defendant Crès and other of Defendant NYUAD's administration

continued to applaud Plaintiff's successful performance in other respects (research, committee

work, colloquia, etc.), other than asking for more time to respond, there continued to be silence

from the Administration regarding remediating the gender-hostility within Defendant NYUAD's

Social Science Division.

       131.    On February 1 2019, Plaintiff filed a complaint with the Office of Equal

Opportunity (the OEO) at Defendant NYU and Defendant NYUAD (it is the same office, with

representatives on both campuses) against Defendant Timmons and Defendant NYUAD,

outlining the gender-based hostility within the NYUAD's Politics Program and Social Science

Division.

       132.    Around the same time (early 2019), a second (tenure-track) female faculty

member also filed a complaint against Defendant Timmons. This female faculty member chose

to secure a competing offer from another institution and left Defendant NYU, explicitly stating

that her departure was due in part to the gender-based hostility perpetrated against her by

Defendant Timmons.

       133.    Immediately after filing the OEO Complaint and continuously thereafter, Plaintiff

was subject to retaliation for whistleblowing on the gender-based hostility perpetrated by

Defendant Timmons.

       134.    Such retaliatory treatment included (i) attempting to renege on agreed-upon

course reductions, requiring Plaintiff to seek the intervention of the Provost's office; (ii)

Defendant NYUAD accepting frivolous and retaliatory accusations brought by Defendant

Timmons against Plaintiff; (iii) Defendant Crès launching a baseless investigation against

Plaintiff without informing her of the charge, the procedure or the outcome; and (iv) reneging on



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a promise to recruit a job candidate related to Plaintiff-led initiative on Identity and Genetics for

the Social Science Division.

       135.    When Plaintiff specifically reported to Defendant Crès that the gender-hostility

was now palpably bleeding into her treatment by younger male colleagues at NYUAD,

Defendant Crès never responded to Plaintiff regarding this complaint.

       136.    In or about that time, Plaintiff informed the OEO of the explicitly retaliatory

treatment.

       137.    Between March 25, 2019 and March 28, 2019, Plaintiff met with the OEO in New

York and Linda Mills, then a representative of NYU's Provost Office. At that time, Mills was

NYU's Vice Chancellor and Senior Vice Provost for Global Programs and University Life. In

September 2023, Mills took office as President of NYU.

       138.    At that time (March 2019), Plaintiff asked either for the gender-based hostility at

NYUAD and the retaliatory treatment to be addressed or that Plaintiff be returned to Defendant

NYU on terms that were not disadvantageous to Plaintiff.

       139.    In response, Mills instructed Plaintiff to take "time off" during the 2019-20

academic year, while the new incoming Vice Chancellor of Defendant NYUAD took office.

Mills indicated that this was a stopgap solution until the new incoming Vice Chancellor of

NYUAD was in a position to address questions of gender hostility and workplace culture.

       140.    At that time (March 2019), Plaintiff asked and offered to continue to serve on

committees but was instructed by Mills to step down from all committees.

       141.    Mills promised Plaintiff that there would be an explicit statement sent to the

Social Science Division acknowledging climate – and gender – as an issue and that Plaintiff

would be protected from further retaliation.



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       142.    At that time, Mills did not agree to any investigation into Plaintiff's complaints

regarding gender hostility within the workplace.

       143.    At that time, the OEO informally discouraged Plaintiff from asking for an

investigation, saying that in the end, whether there was an investigation or not, it was the

University leadership which would have to address the issues, which Mills had offered to do on

behalf of the Provost's office.

       144.    However, the retaliation continued and there was never, as promised, an explicit

acknowledgment of climate – and gender – as a problem in the Social Sciences division.

       145.    In the meantime, two untenured female faculty left the NYUAD Politics Program.

Both were among the women who had, upon information and belief, escalated their complaints

to either the OEO or to HR and the senior NYUAD administration.

       146.    Upon information belief, one of these women resigned and the other was forced

out soon after lodging her complaint.

       147.    When Plaintiff raised this with the OEO, Plaintiff was told by its Director that if

she was dissatisfied with the state of affairs following her discussions with Mills, she should

"feel free to renew your pursuit of a complaint with my office."

       148.    On May 8 2019, Plaintiff reached out to the OEO in New York asking them to

launch a formal investigation in response to her complaint against Defendant Timmons.

       149.    Around the same time, one of the female faculty in the NYUAD Politics Program,

who had already announced her decision to leave, also asked for a formal investigation into her

complaint of gender-hostility against Defendant Timmons.

       150.    Also around the same time, in May 2019, in a lengthy report of gender-based

misconduct, seven female faculty members (not including Plaintiff) complained to the Head of



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Human Resources at NYUAD about gender discrimination and gender-based hostility within the

NYUAD campus.

       151.    The Head of Human Resources at NYUAD responded by promising to raise the

issues with the NYU New York "higher administration."

       152.    Upon information and belief nothing ever became of this alleged escalation of the

complaints of gender-hostility at NYUAD.

       153.    On August 27, 2019, Plaintiff wrote to the new incoming Vice Chancellor of

NYUAD (Mariet Westermann) regarding gender discrimination within the workplace at

Defendant NYUAD's Politics Program.

       154.    Plaintiff wrote "I want to bring to your attention questions of climate at NYUAD

that affect women disproportionately but also affect us all. This is a problem that is pervasive

across the university, and it affects us in the Division of Social Sciences too. Sometimes those in

positions of authority are the source of the problem or compound the problem. I write to you

because, after working within all the available channels to address these matters internally, I

believe that it will take strong university-wide leadership to address these issues."

       155.    Plaintiff never received a response.

       156.    Westermann took office on September 1, 2019 and on September 5, 2019

Westermann announced the departure of NYUAD's Office of Equal Opportunity (OEO)

representative. This representative had previously conducted a formal investigation of a

complaint filed by another female faculty member at Defendant NYUAD (in the Humanities

program). Such a formal investigation, upon information and belief, was a very rare occurrence

at Defendant NYUAD.




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       157.     Westermann did not replace the OEO Representative position at Defendant

NYUAD for almost two academic years.

       158.     From that moment forward (September 2019), Vice Chancellor Westermann

excluded Plaintiff from all committees and research initiatives over which she had power of

appointment or invitation that were offered to and provided to other members of Defendant

NYUAD's Politics Program and Social Science Division.

       159.     In September 2019 the OEO reported to Plaintiff that it found no evidence of any

policy violations in Plaintiff's complaint. At that time, the OEO similarly rejected the complaint

filed by the other female NYUAD Politics faculty member.

       160.     Demoralized, Plaintiff spent the period from September 2019 into June 2021

retreating from her previous roles on campus, instead focusing on Plaintiff's writing and

teaching.

       161.     During this period of time Plaintiff learned of rumors being spread around

Defendant NYUAD's Politics Program and Social Science Division about problems with her

teaching and her personality. These rumors were without basis (Plaintiff had excellent teaching

evaluations, with scores from 4.5-5 on a five-point scale and glowing testimonials about her

committee work and colleagueship from faculty, staff colleagues, and administrators). But these

rumors further interfered with Plaintiff's capacity to continue her effectiveness as a pedagogue

and researcher and also affected (and continue to affect) Plaintiff's reputation at NYUAD,

especially among Plaintiff's colleagues in the Social Sciences.

       162.     In April 2021, Plaintiff sent an email to the (Interim) Dean and the faculty

attempting to address these unfounded and disparaging rumors. There was no response from the

Interim Dean.



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       163.    During this period of time, there was a wholesale change in Defendant NYUAD

leadership with the appointment of a new Provost, and a new Social Science Dean in addition to

a new Vice Chancellor.

       164.    During this period of time NYUAD launched a climate survey, which revealed

the problematic climate on campus and revealed that gender hostility and gender bias was a

prevalent and apparent problem.

       165.    The climate survey also pointed to the pervasive fear of retaliation by those who

made complaints, and its effect on depressing the number of complaints that were made. While

much of the data from the survey was withheld, the report that was released noted that "high

numbers of participants (31.4%) who indicated that their experiences at NYUAD were NOT

FREE of harassment, bullying and/or intimidation;" that "36% of women said that their

experience at NYUAD were not free of harassment compared to 27% of men"; and that "People

who experienced harassment were also more fearful of retaliation . . . which also explains the

low rates of official complaints."

       166.    On June 13, 2021, the new and incoming Dean of Social Sciences at Defendant

NYUAD (Defendant Paula England) sent a message to all NYUAD faculty announcing that she

would arrive at NYUAD on August 15, 2021 and become the Dean effective September 1, 2021.

       167.    On July 28, 2021, Plaintiff spoke with Defendant England on a zoom call and

indicated that Plaintiff would like to extend her Joint Appointment contract at NYUAD.

       168.    At that time, Defendant England responded with an enthusiastic "yes" and asked

Plaintiff for the details of how she wanted the terms of her renewal drawn up (for example, how

many years and on what terms).




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       169.    After being advised by Defendant England that she would work on the renewal,

Plaintiff then reported that there was a gender climate issue in NYUAD Politics Program, and

that Plaintiff and another female faculty member had made formal complaints about same in the

past. Plaintiff added that she remained worried about continued retaliation in Defendant

NYUAD's Politics Program and the Social Science Division.

       170.    In response, Defendant England asked Plaintiff to give her more information on

the gender-based hostility issues within the Politics Program and the Social Science Division.

       171.    On July 28 2021 Plaintiff sent to Defendant England a memo detailing the gender

hostility within the Politics Program and the Social Science Division.

       172.    Plaintiff was hopeful that this issue would finally be taken seriously because Vice

Chancellor Westermann had, in the wake of George Floyd's death, made a number of pledges "to

advance inclusion, diversity, belonging and equity (IDBE) as the core of our mission" and

Defendant England, a renowned sociologist, specialized in the study of gender inequity.

       173.    Defendant England never responded to the memo in any fashion.

       174.    Instead, six weeks later, on September 9, 2021, Defendant England advised

Plaintiff that notwithstanding her assurances otherwise, Plaintiff's NYUAD appointment would

not be extended.

       175.    Defendant England's explanation for refusing to renew Plaintiff's NYUAD

appointment was pretextual. Defendant England contended that "there were several features of

your contract which were exceptions to what is allowed for faculty who serve in Abu Dhabi but

retain positions in New York. The provost's office says that such a contract cannot be extended."

Defendant England also cited an informal rule at NYU saying contracts could not be extended

and added "Even if that NY limitation weren't present, it isn't possible from the NYUAD side."



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       176.    Defendant England explicitly stated at the time that her refusal to renew Plaintiff's

NYUAD appointment – as had been promised – had nothing to do with Plaintiff's work

performance, which she said was "highly valued."

       177.    In fact, for all times relevant to this complaint Plaintiff's work performance has

never been challenged and is by all accounts exceptional.

       178.    Defendant England's explanation for refusing to renew Plaintiff's NYUAD

appointment were and are untrue. Many contracts at NYUAD have exceptions and have been

extended, there is no obstacle to doing a new contract with standard features, no written evidence

of the informal rule at Defendant NYU that Defendant England cited, and the Dean of Social

Sciences at Defendant NYU had written to Plaintiff in correspondence copied to Defendant

England stating that he was happy to support Plaintiff’s request to stay on at Defendant NYUAD.

       179.    The refusal to extend the Joint Appointment damaged Plaintiff's research,

teaching and compensation. It removed Plaintiff from the multidisciplinary faculty

collaborations located at Defendant NYUAD that she had spent years building, rendering

Plaintiff ineligible to apply for funding for a Center on Identity and Genetics, undermined

Plaintiff's teaching and research on South Asia and substantially reduced Plaintiff's salary and

research funding.

       180.    On September 12, 2021 Plaintiff wrote to Defendant England acknowledging the

notice from Defendant England that her Defendant NYUAD appointment would not be extended

and asking for a meeting to discuss other ways for Plaintiff to stay involved with Defendant

NYUAD's campus.




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       181.    By exploring other ways of remaining involved with Defendant NYUAD's

campus, Plaintiff was attempting to mitigate the damage caused by Defendants' violative conduct

in refusing the promised renewal of her appointment at Defendant NYUAD.

       182.    Plaintiff's identity and genetics collaboration depended on her faculty status and

residence at Defendant NYUAD. Plaintiff would not be eligible to submit a grant application for

this collaboration listing her as the PI if she were not standing faculty at Defendant NYUAD.

Plaintiff also did not have the colleagues and students or the same professional relationships, or

the support for multidisciplinary research in New York. Plaintiff had invested a large portion of

her time and effort at Defendant NYUAD in building this collaboration. Plaintiff would also not

be able pursue her field-based research on South Asia without the research support and physical

proximity to South Asia and the South Asian diaspora at Defendant NYUAD. Plaintiff would

also not be able to teach students from across South Asia, and incorporate field visits to South

Asia in her teaching, which was possible only at Defendant NYUAD.

       183.    Short-term teaching at NYUAD would allow her to continue with her

collaborations, research activities and teaching at least in a diminished form. It also offered some

additional compensation.

       184.    Defendant England refused to meet with Plaintiff and instead wrote a response to

Plaintiff that "What I can say, based on my discussions with the Administration is NYUAD

would not give you anything like your current contract again." She also wrote that "I don't think

that NYU would allow you to be affiliated faculty again."

       185.    Defendant England added that there was no other way for Plaintiff to continue to

be remain involved with Defendant NYUAD other than shifting her tenure there, that if Plaintiff

wanted to shift her tenure to Defendant NYUAD Plaintiff would have to go through a



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competitive search process again at Defendant NYUAD, and that there was no funding for any

such search.

       186.    This was untrue. Standard policies for a Joint Appointment, visiting faculty

affiliations, J term teaching and other such opportunities remained in place, and the handful of

faculty who have shifted their tenure from Defendant NYU to Defendant NYUAD or initiated

such a process have done so through an internal administrative procedure similar to moving

between departments on the same campus, and not through a competitive search process.

       187.    Plaintiff wrote an email to Defendant England challenging her explanation and

complaining about what Plaintiff perceived to be retaliatory treatment, and turning Plaintiff into

a persona non grata. Defendant England did not respond.

       188.    On September 21 2021, Leigh Watts, the Assistant Director for Community

Outreach and Academic Appointments at Defendant NYUAD's New York office sent Plaintiff

an email on behalf of himself and Zvi Ben-Dor Benite, Associate Vice Chancellor for Global

Network Faculty Planning at Defendant NYU, noting that "After 21-22, you will return to the

NYU NY system (payroll, HR, benefits, and housing, if applicable) without any further

notice. All teaching and administrative obligations henceforth will be managed by your NYU

NY school and department … Please also be in touch directly with your NYU NY department

chair, Sanford Gordon, about departmental office space and teaching in Fall 2022."

       189.    On October 14, 2021, Defendant England announced that Defendant Timmons –

the person Plaintiff identified as the perpetrator of gender-based hostility within and on the

NYUAD campus – had been promoted to the position of Associate Dean of Faculty Affairs and

that Defendant Timmons would be working directly with Defendant England "on mentoring,

tenure cases, and other matters to do with faculty affairs." These were the exact issues on which



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Plaintiff had complained that Defendant Timmons had infused his adminstratorship with gender

bias and hostility.

          190.   On February 2, 2022, Plaintiff learned for the first time that sometime in the Fall

of 2021, also after Plaintiff had raised the gender bias issues with Defendant England, Defendant

England had excluded Plaintiff from the tenure evaluation for two candidates whose work was

squarely in Plaintiff's field of expertise.

          191.   Excluding Plaintiff from these tenure review committees was a violation of

Defendant NYUAD's Promotion and Tenure guidelines and Plaintiff's job description as defined

by those guidelines.

          192.   Plaintiff's exclusion from tenure evaluation committees was and is a palpable

adverse action insofar as Faculty Promotion and Tenure, and Recruitment committees are among

the most important Program committees at Defendant NYUAD. Serving on these committees is

a highly valued part of service to a faculty member's department or program and one of the

yardsticks on which job performance is evaluated. They are also a recognition of field expertise

and standing and a determinant of professional respect.

          193.   Upon information and belief, Defendant Timmons, as Defendant England's

primary advisor on the Politics program and the Associate Dean for Faculty Affairs, was

involved in the decision to exclude Plaintiff from this routine, but essential appointment to tenure

review.

          194.   Once Plaintiff found out that she had been excluded, Plaintiff asked for the reason

and was told in an email by Defendant England "I cannot remember the reason." Defendant

England admitted that Plaintiff was, in Defendant England's words, "well-qualified" to conduct

this review.



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       195.      Defendant England excluded Plaintiff not only from service on these Promotion

and Tenure Committees as mandated by Defendant NYUAD's Promotion and Tenure guidelines,

but has to date also excluded Plaintiff from all committees over which she had power of

appointment.

       196.      Since the date that Plaintiff was asked by Defendant NYU to step down from

committee work while her complaint was addressed (March 2019) Plaintiff was never put on any

Politics program committee or Defendant NYUAD Social Science Divisional committee again.

       197.      These exclusions were unrelated to performance or qualifications. Prior to filing

a complaint, Plaintiff had been appointed to numerous such committees and effusively praised

for her qualifications and for being a "great asset" to such committees and for her "priceless

contribution."

       198.      Plaintiff had come full circle. It was precisely this type of blatant and intentional

exclusion which led to her filing a complaint in 2019. Now, however, it was not just Defendant

Timmons who was perpetrating gender bias, he was also backed by the new Dean, Defendant

England.

       199.      Serving on Committees -- and in particular promotion and tenure committees -- is

an essential component of Plaintiff's duties and essential for Plaintiff to maintain professional

status within the faculty community.

       200.      Any promotion to positions of academic and administrative leadership within and

outside the university community requires evidence of service on such committees. By being

blocked from membership in important committees, Plaintiff was obstructed from such

advancement.




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        201.   Prior to filing a complaint, Plaintiff had been selected, trained and prepared for

leadership. Plaintiff had been invited to serve on the Defendant NYUAD's Women's Leadership

Initiative (2018-19) and asked by Defendant Crès's assistant on his behalf to attend a "Leadership

Workshop" because "Given your leadership role, we think this training would be beneficial to

you."

        202.   Since the date that Plaintiff was asked by Defendant NYU to step down from

committee work while her complaint was addressed (March 2019), no administrator at

Defendant NYUAD ever raised the possibility of leadership or opportunities for Plaintiff's

advancement again.

        203.   By contrast, Defendant Timmons was subsequently and repeatedly promoted.

        204.   Notwithstanding her efforts to secure renewal of her appointment at NYUAD, on

December 31, 2021, Plaintiff's teaching and faculty status as a Joint Appointee at NYUAD was

terminated and in fact Plaintiff was not renewed as a faculty member at NYUAD.

        205.   At the time of her Joint Appointment at Defendant NYUAD, Plaintiff and

Defendants had agreed that Plaintiff would take the Spring semester 2022 as a paid sabbatical in

residence at Defendant NYUAD.

        206.   At the time of the original Joint Appointment, since it was presumed that

Plaintiff's Joint Appointment would be renewed, it was specified that the sabbatical would be in

residence at Defendant NYUAD.

        207.   Plaintiff's understanding also was that her contract as Joint Appointment at

Defendants NYU and NYUAD would continue during this sabbatical. This was also the

understanding of Defendant Dean England who had written to Plaintiff on September 9 2021 that

her contract was "scheduled to run out next summer."



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       208.    The sabbatical was jointly funded by Defendant NYU and Defendant NYUAD.

       209.    However on December 5, 2021, the Provost's office informed Plaintiff that her

contractual end date at NYUAD was "December 31, 2021." Consequently, Plaintiff's status as

Defendant NYUAD standing faculty was withdrawn even during this period.

       210.    Plaintiff also learned that the circumstances in which Plaintiff's contract was

terminated had not been kept confidential and that it had been communicated to Plaintiff's

colleagues that Plaintiff had wanted to renew her contract and stay working at Defendant

NYUAD, but that Plaintiff had been refused.

       211.    This disparaging information had also become common knowledge on the

NYUAD campus and Plaintiff was subject to gossip mongering there. One male faculty member

from a different division within Defendant NYUAD stated to Plaintiff at this time, "Your days

here are numbered."

       212.    The only people who had knowledge of these circumstances at Defendant

NYUAD and could have spread this information were Defendant England and Defendant

Timmons.

       213.    The Defendants' discriminatory treatment has continued to date and affected

Plaintiff's reputation and professional opportunities at Defendant NYU as well.

       214.    On May 4, 2022, Sanford Gordon, the Chair of Defendant NYU's Politics

Department in New York circulated the committee slate for the 2022-23 academic year, which

was when Plaintiff would be beginning her forced return back to Defendant NYU. In July 2021,

prior to NYUAD's sending Plaintiff back to New York in disgrace, Gordon had emailed Plaintiff

saying "I would like to do whatever makes you happy/involve you in graduate admissions and

faculty recruitment on the square."



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       215.    Following the exclusion of Plaintiff from promotion and tenure committees at

NYUAD and correspondence between Gordon, Defendant England and upon information and

belief Defendant Timmons about this exclusion, Plaintiff was not included on any faculty

recruitment or graduate training committee, or promotion and tenure committees for NYU

Politics Department faculty. These are the three most important types of committees in the

Department, that affect both professional standing and career advancement.

       216.    Plaintiff had routinely served on the same committees during her years of service

to the Defendants, prior to filing a complaint.

       217.    Defendant NYU members with a comparable record and seniority were all

included.

       218.    During the period of time May 24-June 9, 2022, Plaintiff taught a short-term

course in Summer 2022, shortly before her departure from Defendant NYUAD. Defendant

England inadvertently revealed to Plaintiff that Defendant England had not approved the

decision to allow Plaintiff to teach the course: she been asked to sign a letter of approval only

after the opportunity to teach the course had already been offered to Plaintiff and she was not

supportive of Plaintiff teaching this course.

       219.    The course went very well; Plaintiff's teaching evaluations were excellent, and

Plaintiff ran a well-attended faculty symposium throughout that she was asked to repeat.

       220.    On September 1, 2022, Plaintiff returned to working on Defendant NYU's New

York campus.

       221.    Plaintiff was subject to gossip mongering in New York. Plaintiff's colleagues in

New York told Plaintiff that they were aware that she did not want to return to New York but

was sent back by Defendant NYUAD.



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       222.    On September 4, 2022, Plaintiff was informed that her formal application for

renewed teaching opportunities on Defendant NYUAD's campus had been denied. Plaintiff had

applied for these opportunities in December 2021, despite the discouragement of Defendant

England. Plaintiff received this response long after the deadline for notifying applicants of this

decision had passed.

       223.    Notwithstanding Plaintiff's open instruction to Defendants that she wished to

return to teaching on Defendants' NYUAD campus, Plaintiff was advised by Defendants that she

would not be allowed to teach on Defendant NYUAD's campus, notwithstanding that fact that

Plaintiff's male colleagues, and those who had not complained about gender discrimination, were

invited back to the NYUAD campus to teach.

       224.    On September 6, 2022, Plaintiff requested in writing an explanation for what

appeared to be an indefinite "no" to any request now or in the future to return to Defendant

NYUAD.

       225.    Defendants, by and through Associate Vice Chancellor for Global Education at

NYUAD, made explicit that Plaintiff would not be allowed to return to the NYUAD campus in

2023 and that any opportunity to return to the NYUAD campus -- even for the limited "J term" --

would need the approval of Defendant NYU's Social Science Dean (Defendant England).

       226.    However, Defendant NYU's Social Science Dean (Defendant England) had

refused to meet with Plaintiff to discuss these opportunities.

       227.    Further, numerous male faculty colleagues and others who had not complained

about gender discrimination at Defendant NYUAD were repeatedly invited and approved to

teach on NYUAD campus during this same time period.




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       228.    On September 27, 2022, Bryan Waterman, the former NYUAD Vice-Provost for

undergraduate education was recruited by Defendant NYUAD's office in New York to organize

an event on teaching and mentoring Defendant NYUAD students in New York. The goal was to

introduce Defendant NYUAD students to NYU faculty with ties to NYUAD. There was a

routine invitation list for this on which Plaintiff's name was included. However, Defendants

removed Plaintiff's name from this list while other Political Science colleagues (all male) were

included.

       229.    In or around this time, a faculty review committee regarding Defendant

NYUAD's tenure and promotion matters -- the FRC -- was constituted, which required the

participation of Defendant NYU Politics faculty members. Plaintiff was the most qualified

person in the candidate's field. Plaintiff was also the faculty member in New York with the

longest experience at Defendant NYUAD. And again, Defendants excluded Plaintiff. The result

was a committee with an entirely male membership, with two NYU New York Politics faculty

members. Plaintiff's exclusion was notable and glaring.

       230.    On December 1, 2022 the tenured faculty at Defendant NYU's Department of

Politics met to discuss the report of a Promotion and Tenure Committee for a certain NYU-based

faculty member. Such committee was constituted again of only men. Plaintiff is and was at the

time one of the most cited scholars in Defendant NYU Politics Department in the candidate's

fields and had chaired his third-year review committee. Yet, once again, Plaintiff was removed

from this promotion and tenure committee.

       231.    Defendant NYU's Department of Politics Chair Sanford Gordon had the power of

appointment on Defendant NYU's New York based committees, and, upon information and

belief, participated in the selection of and outreach to NYU New York faculty members



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appointed to Faculty Review Committees (FRCs) committees by the NYUAD Social Dean

Defendant England for promotion and tenure of NYUAD candidates.

       232.    On March 27 2023, Plaintiff wrote to Gordon reiterating that she was eager to

serve and asking to be included on such committees, and in particular, on review committees in

her field, "commensurate with my credentials and expertise."

       233.    Plaintiff noted that she had served on such committees in NYU New York

previously and reiterated her credentials for continued service, which indicated greater

experience on professional review committees within and outside the University than most male

NYU colleagues routinely being placed on committees: "Those credentials include serving on

NYU's Promotion and Tenure Committee, chairing the Political Economy Section of the

American Political Science Association, serving on the editorial boards of the American Political

Science Review, Comparative Political Studies and Comparative Politics, chairing and serving

on multiple award committees at the American Political Science Association, serving on the

Political Science panel of the National Science Foundation, and chairing or serving on review,

recruitment, ad hoc and other committees at NYU and NYUAD and NYU Shanghai."

       234.    In so doing, Plaintiff was again trying to mitigate the damage she had suffered

and see a way forward to the future. Plaintiff wrote: "Iterative exclusions, an iterative legal

process and continued embattlement in no one's interests. The best thing for all of us as we look

to the future to do the right thing, for its own sake, at the outset. Voice can help. Thus this note."

       235.    Gordon responded by belittling Plaintiff's expertise and credentials: "It cannot be

the expectation of a faculty member that perceived overlap of research expertise is a sufficient

condition for appointment to a given committee."




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        236.    There is a clear before and after in the language Defendant NYU's Chair used in

this response. In July 2021, prior to Defendant NYUAD sending Plaintiff back to New York in

disgrace, Gordon had emailed Plaintiff saying "I would like to do whatever makes you

happy/involve you in graduate admissions and faculty recruitment on the square."

        237.    Yet, after the retaliatory actions by Defendant NYUAD, Gordon excluded

Plaintiff from faculty recruitment, graduate admissions committees and review committees in

Plaintiff's field. In addition, Gordon belittled Plaintiff's credentials and Plaintiff's request to be

included: "It cannot be the expectation of faculty members to be included in committees because

of 'perceived overlap' of research interests."

        238.    In the academic year 2023-24, Gordon again did not include Plaintiff on any

faculty Promotion and Tenure committee or recruitment committee for the NYU New York

Department. She was also not included on the graduate admissions committee.

        239.    In contrast, Plaintiff's male colleagues, many with less distinguished records, field

expertise and committee experience, were asked to serve, often in repeat roles.

        240.    Gordon also demoted Plaintiff further, taking the unusual step of overlooking her

seniority and asking her to serve on a committee under the chairmanship of

a male associate professor with significantly limited committee experience.

        241.    The exclusions at Defendant NYU and Defendant NYUAD have had and

continue to have an adverse effect also on Plaintiff's ability to recruit and train graduate students

on return to New York: the open undermining by her colleagues at Defendant NYU makes it

difficult to recruit, train and advocate for them effectively. Further, a close association with her

may render them subject to retaliation.




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          242.   Access to opportunities at Defendant NYUAD (conferences, graduate

fellowships, advising relationships with NYUAD faculty) are now an important part of graduate

careers in the Politics Department at Defendant NYU. The hostility towards plaintiff at

Defendant NYUAD means that Plaintiff is not able to offer such opportunities to her students.

          243.   Defendants continue to actively obstruct any opportunity for Plaintiff to return to

Defendant NYUAD. For example, on June 6, 2023, Associate Vice Chancellor and Vice Provost

for Global Education informed Plaintiff that her application to teach in NYUAD for J term 2024

had been turned down again: "Unfortunately, we won't be including your course in the

curriculum for J-Term 2024. The Deans are privileging new faculty and meeting new curricular

needs."

          244.   Plaintiff's male colleagues, and those who had not filed a complaint, were invited

back again in repeat roles.

          245.   Discriminatory and retaliatory conduct continues to date.

          246.   For instance, on December 2 2023, Plaintiff wrote again to Associate Vice

Chancellor for Global Education at Defendant NYUAD asking to be considered to teach during J

term 2025.

          247.   The Associate Vice Chancellor responded saying: "Thanks for your abiding

interest in teaching in J-Term. Those courses have been very well received by students (of

course---you are an amazing teacher. As you know, it is the Dean (and for NYU-based faculty

also Zvi Ben Dor Benite ((the Associate Vice Chancellor for Global Network Faculty Planning))

who approve faculty and courses for invitation. I then work with faculty to make the J-Term

happen. Could you reach out to both Paula and Zvi to let them know of your interest?"




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       248.    Plaintiff wrote to both Associate Vice Chancellor for Global Network Faculty

Planning Zvi Ben Dor Benite and Defendant England. Benite acknowledged but did not

respond. Defendant Dean England did not acknowledge or respond.

       249.    On December 20 2023, Associate Vice Chancellor for Global Education at

Defendant NYUAD asked Plaintiff to hold off applying until further notice. However, all other

faculty had been invited at an information session on December 11, 2023 to begin submitting

applications immediately.

       250.    On January 22, 2024, Plaintiff wrote to Associate Vice Chancellor for Global

Education at Defendant NYUAD and Defendant Dean England noting that she had been asked to

hold off while Plaintiff's colleagues and others had been submitting applications as per the

information at the global information session and an active interfolio link.

       251.    Plaintiff also noted that "the application process requires a letter of support from

the NYUAD Dean, who has not responded to my note, and who also chose not to meet with me

when I raised the issue previously."

       252.    On January 22 2024, Plaintiff asked again: "(1) What can I do to be considered in

a fair and transparent manner to teach a J term course at NYUAD (2) What can I do to be

considered in a fair and transparent manner for these other opportunities for 7 weeks and

longer?"

       253.    On January 23 2024, Defendant England responded, disclaiming responsibility for

the J term application process and discouraging Plaintiff from applying for anything else, citing

"pressing needs" and "budgetary restrictions" "that would probably not lead to anything in 24-

25."




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       254.    On February 9, 2024, Plaintiff submitted an application regardless through the

Interfolio link for this purpose, and also forwarded a copy to Defendant England. This

application was to teach a J term course as well as for other teaching opportunities on Defendant

NYUAD’s campus. Plaintiff wrote to Defendant England: "It would be hard to miss all of

the negative signals . . . Nevertheless, I have applied, because teaching at NYUAD is important

to my career, because I believe that my qualifications and performance allow me to contribute

there and compare well with other invitees, and because my understanding is that they are a good

fit with the stated priorities and policies of NYUAD and the Social Science division." There was

no acknowledgment.

       255.    However, on March 14, 2024 Defendants NYU and NYUAD inexplicably

announced an entirely new application process without reference to the previous one, invited

applications for J-term teaching in 2025 applications with a new deadline, and asked those who

had submitted their application before to resubmit. This covered up the earlier process in which

Plaintiff had been singled out and asked not to apply.

       256.    However, upon information and belief, Defendants had already been in touch

informally with other faculty about teaching during J-term.

       257.    On March 14, 2024, Defendants NYU and NYUAD also posted new criteria for

successful applications after already receiving and recording the applications received. These

criteria were not mentioned in December 2023, or in the Interfolio link made available in

December 2023, or in any previous J term application process.

       258.    Some were demonstrably false, and contradicted the criteria mentioned and used

previously. In fact, Plaintiff had previously been asked and encouraged by Defendant NYUAD




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to develop J-Term courses to fit precisely those categories which were now suddenly excluded.

This established gerrymandered grounds for rejection of Plaintiff's courses after the fact.

       259.    Nevertheless, Plaintiff submitted a new application meeting all new criteria.

       260.    As of April 2024, in contrast to Plaintiff's male colleagues and despite her field

expertise, an outstanding record of performance, and in some cases in violation of Defendant

NYUAD's rules and procedures Plaintiff was: (i) terminated from the NYUAD campus and

effectively barred from returning; (ii) excluded from all committees related to the Politics

program at NYUAD appointed by the NYUAD Social Science Dean; (iii) excluded from all

Recruitment, Promotion and tenure Committees for New York based faculty in the Department

of Politics appointed by the NYU Department of Politics Chair, as well as from graduate

admissions committees; (iv) excluded from short term teaching on the NYU Abu Dhabi campus;

(v) refused permission to teach any courses in NYU global over which the NYUAD Dean has

jurisdiction; (iv) excluded from teaching and mentoring meetings in New York related to

NYUAD; and (v) openly undermined in Plaintiff's department in Defendant NYU's New York

campus.

       261.    As a result, Plaintiff's reputation has suffered, her compensation has been

substantially reduced, opportunities for seeking additional compensation through short term

teaching closed off, her research funds have been substantially reduced, her research has been

substantially damaged, her graduate and undergraduate teaching opportunities have both

suffered, she has been blocked from all advancement within NYUAD and NYU and rendered

less competitive for job offers outside, given the prolonged exclusion from leadership positions

or any kind of committee experience combined with the damage to her reputation. Efforts to

mitigate this damage have all been obstructed, and there is no end in sight.



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        262.    Plaintiff's mental health has also suffered. The discrimination and retaliation,

combined with gaslighting and the adverse effect on her career over a number of years, has led to

isolation, anxiety, a questioning of self-worth, a lack of belonging, and a shrinking from

professional spaces which Plaintiff previously inhabited with confidence.

        263.    The exclusions are not related to performance, which has been outstanding on

every measure, something acknowledged by Defendant NYUAD administrators who have called

her "an amazing teacher," told her that her research and teaching "has been highly valued" and

have thanked her for her "priceless contribution" and for being a "great asset" on committees. No

administrator has pointed to a problem with performance even when pressed for a reason for

excluding her. Instead, the pretexts for exclusion have been vaguely stated "pressing needs," "I

don't know," "I don't remember," I was not involved," and silence.

        264.    The exclusions are not related to University or Divisional policy. Plaintiff's

profile and performance place her squarely at the center of the mission which Defendant NYU

and Defendant NYUAD have outlined in documents such as Defendant NYUAD's Academic

Strategy, its Diversity and Inclusion statements and the research and curricular priorities laid out

by Defendant NYUAD's Social Science Division and the Politics program. Prior to Plaintiff's

filing a complaint, she was praised and supported precisely because of this fit.

        265.    Further, Plaintiff's performance and the steps she followed in the filing of a

complaint, have been scrupulously in keeping with Defendant NYUAD and Defendant NYU's

stated policies and priorities.

        266.    In fact, in several instances, those in positions of authority at Defendant NYUAD

have violated its own policies, norms and stated priorities.




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       267.    The connections between Defendant NYU's Politics Department and Defendant

NYUAD's Politics Program reinforce and amplify gender discrimination in each. For instance,

upon information and belief, at least two tenured male members of the NYU Politics Department

participated in the rumors spread about Plaintiff's teaching and personality in Defendant

NYUAD's Politics program.

       268.    Defendant Timmons also cited tenured male members of the NYU Politics

department in his frivolous counter-accusations against Plaintiff.

       269.    The Politics Program at Defendant NYUAD has an exceptionally poor record on

gender representation. As of April 2024, it has, upon information and belief, eighteen male

faculty, almost all tenure-track or tenured, and five female faculty, three on the tenure track, one

an adjunct lecturer, and one Professor of Practice.

       270.    The Department of Politics at Defendant NYU also has one of the worst records

of NYU departments on inclusion and diversity on race, national origin and gender. Its male

faculty members have made public statements about African-American and Asian American

minorities that prompted news coverage, university wide petitions and an unusual statement

critical of these faculty members by the NYUAD higher administration.

       271.    Plaintiff is one of a handful of female Full Professors at Defendant NYU's

Department of Politics and the only tenured woman of color there as well.

       272.    Plaintiff has had her NYU New York colleagues make comments about her skin

color, one of whom then followed up on email.

       273.    Defendants (both NYUAD and NYU) have a poor record on gender equity at

senior levels compared to most other political science departments. Defendants refuse to give

senior women a place at the table. In the near two decades that Plaintiff has been at Defendant



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NYU, there was only one senior offer made to a woman, compared to at least fourteen (14) or

fifteen (15) senior offers to men, most of whom were co-authors, proteges and favorite sons.

Virtually all of these senior offers were non-competitive, with no other candidates interviewed or

even considered.

       274.    When the Plaintiff previously objected to the gender bias in hiring produced by

this classic "old-boy" hiring procedure, the then Chair of the Politics Department at Defendant

NYU defended that procedure while not acknowledging the gender bias. He wrote, in an email

to Plaintiff: "At the senior level we should not be hiring people who have not made sufficient

impact that we have not heard of them."

       275.    Since its inception and during all times relevant to this Complaint, Defendant

NYU's Political Science Department has never had a female chair except for a brief period

between 2000-2003, when, upon information and belief, it was emerging from receivership.

This is a worse record than any Political Science Department at any comparative university.

       276.    The gender bias in senior hiring and in the leadership of the Politics department

was permitted and supported by the NYU New York Social Science Deans, who were for all

relevant times also senior male faculty from the Politics Department.

       277.    Women graduate students in Wilf Family Department of Politics at Defendant

NYU have, upon information and belief, also complained about gender hostility.

       278.    Plaintiff was previously vocal about the glass ceiling for senior women in

Defendant NYU's Department of Politics, as well as the adverse ways in which this lack of

gender representation affected the environment for younger faculty and students, in memos and

data submitted to Chairs and Deans at Defendant NYU NY.




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        279.   Plaintiff's efforts in this regard produced and were the proximate cause of chronic

hostility, retaliation and disrespect which Plaintiff suffered under. But the exclusions at

Defendant NYUAD tipped the scales for Plaintiff in Defendant NYU as well and damaged her

reputation, teaching, research, prospects for advancement and well-being in New York in ways

substantial enough for her to pursue legal recourse.

        280.   As of April 2024, if not earlier, Plaintiff has been terminated from and refused

any opportunity of any sort from participation in Defendants' Abu Dhabi campus, while also

being undermined and blocked from advancement in NYU New York, all as a consequence of

filing a complaint on gender equality.

        281.   Plaintiff's efforts to correct and remediate gender discrimination within Defendant

NYUAD turned an appointment at NYUAD that was a career investment into not only a dead-

end but professional quicksand.

        282.   Defendant Timmons on the other hand has been promoted twice since Plaintiff

filed a complaint, first to Associate Dean for Faculty Affairs in the NYUAD Social Science

division, and then again to the senior leadership team at NYUAD within NYUAD's Stern School

as Associate Dean of Faculty.

        283.   Plaintiff's reputation, compensation, research, teaching, career trajectory, and

mental health have all suffered as a result of Defendants' discrimination perpetrated against

Plaintiff.

                                          JURY DEMAND

        284.   Plaintiff requests a trial by jury.




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                       AS AND FOR A FIRST CAUSE OF ACTION
                Discrimination Under Title VII of the Civil Rights Act of 1964
                          (Against Defendants NYU and NYUAD)

       285.   Plaintiff restates the foregoing as if fully set forth in this cause of action.

       286.   By the foregoing, Defendants discriminated against Plaintiff violation of the Civil

Rights of 1964, 42 U.S.C. §§ 2000e et seq.

       287.   Plaintiff has been harmed and damaged as a result of such discriminatory

treatment in the workplace.

                      AS AND FOR A SECOND CAUSE OF ACTION
                   Discrimination Under the New York State Executive Law
                                  (Against All Defendants)

       288.   Plaintiff restates the foregoing as if fully set forth in this cause of action.

       289.   By the foregoing, Defendants discriminated against Plaintiff violation of the New

York State's Executive Law, N.Y. Exec. Law §§ 290 et seq.

       290.   Plaintiff has been harmed and damaged as a result of such discriminatory

treatment in the workplace.

                        AS AND FOR A THIRD CAUSE OF ACTION
                 Discrimination under the New York City Administrative Code
                                  (Against All Defendants)

       291.   Plaintiff restates the foregoing as if fully set forth in this cause of action.

       292.   By the foregoing, Defendants discriminated against Plaintiff violation of New

York City's Administrative Code, N.Y.C. Admin. Code § 8-107.

       293.   Plaintiff has been harmed and damaged as a result of such discriminatory

treatment in the workplace.




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                         AS AND FOR A FOURTH CAUSE OF ACTION
                     Retaliation Under Title VII of the Civil Rights Act of 1964
                              (Against Defendants NYU and NYUAD)

       294.   Plaintiff restates the foregoing as if fully set forth in this cause of action.

       295.   By the foregoing, Defendants have retaliated against Plaintiff for opposing

discrimination under the Civil Rights of 1964, 42 U.S.C. §§ 2000e et seq.

       296.   Plaintiff has been harmed and damaged as a result of such discriminatory

treatment in the workplace.

                          AS AND FOR A FIFTH CAUSE OF ACTION
                       Retaliation Under the New York State Executive Law
                                     (Against All Defendants)

       297.   Plaintiff restates the foregoing as if fully set forth in this cause of action.

       298.   By the foregoing, Defendants have retaliated against Plaintiff for opposing

discriminated against Plaintiff in violation of the New York State's Executive Law, N.Y. Exec.

Law §§ 290 et seq.

       299.   Plaintiff has been harmed and damaged as a result of such discriminatory

treatment in the workplace.

                          AS AND FOR A SIXTH CAUSE OF ACTION
                     Retaliation under the New York City Administrative Code
                                     (Against All Defendants)

       300.   Plaintiff restates the foregoing as if fully set forth in this cause of action.

       301.   By the foregoing, Defendants retaliated against Plaintiff for discriminating against

Plaintiff in violation of New York City's Administrative Code, N.Y.C. Admin. Code § 8-107.

       302.   Plaintiff has been harmed and damaged as a result of such discriminatory

treatment in the workplace.




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                                       REQUEST FOR RELIEF

          Plaintiff requests the following relief and judgment against Defendants.

          (i)     Enter a declaratory judgment, stating that Defendants and all of their affiliates'

and subsidiaries' practices, policies and procedures subjected Plaintiff to discrimination and

retaliation in violation of Federal, State and City Law.

          (ii)    Award injunctive relief against Defendants, their affiliates, and subsidiaries, from

engaging in the unlawful practices, policies, customs, and usages set forth herein.

          (iii)   Awarding injunctive relief directing Defendants, their affiliates, and its

subsidiaries to take such affirmative action as is necessary to ensure that the effects of these

unlawful employment practices are eliminated and do not continue to affect Defendants'

employees.

          (iv)    Enter judgment against Defendants on all causes of action and an award of actual

and compensatory damages, including for lost pay and benefits, compensatory and emotional

distress damages and medical expenses, punitive and/or exemplary damages, liquidated

damages, attorneys' fees, pre- and post-judgment interest, all in an amount to be determined at

trial by the jury.

          (v)     Award such further relief as this Honorable Court deems just, equitable and

proper.




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Dated: Rhinebeck, New York
       April 22, 2024


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